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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                  Plaintiffs,
      v.                                         Case No. 24-CV-3220 (DLF)
DOROTHY FINK, et al.,

                 Defendants.


BRISTOL MYERS SQUIBB COMPANY,

                   Plaintiff,
      v.                                         Case No. 24-CV-3337 (DLF)
DOROTHY FINK, et al.,

                 Defendants.


SANOFI-AVENTIS U.S. LLC,

                   Plaintiff,
      v.                                         Case No. 24-CV-3496 (DLF)
UNITED STATES DEPARATMENT OF HEALTH
AND HUMAN SERVICES, et al.,

                 Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

                   Plaintiff,
      v.                                         Case No. 25-CV-0117 (DLF)
DOROTHY FINK, et al.,

                 Defendants.




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           MANUFACTURER-PLAINTIFFS’ JOINT POSITION STATEMENT
                         ON CONSOLIDATION

       On February 6, 2025, the Court requested that the parties to civil actions Eli Lilly v. Fink,

No. 23-cv-3220; Bristol Myers Squibb Co. v. Fink, No. 24-cv-3337; Sanofi-Aventis U.S. LLC v.

U.S. Department of Health and Human Services, No. 24-cv-3496; and Novartis Pharmaceuticals

Corp. v. Fink, No. 25-cv-117, notify the Court of their respective positions on consolidation under

Federal Rule of Civil Procedure 42.1

       The four Manufacturer-Plaintiffs—Eli Lilly and Company and Lilly USA, LLC (referred

to collectively as plaintiff “Lilly”), Bristol Myers Squibb (“BMS”), Sanofi-Aventis U.S. LLC

(“Sanofi”), and Novartis Pharmaceuticals Corp. (“Novartis”)—submit the following proposal,

which aims to keep these cases on their heavily negotiated agreed schedules, eliminate duplicative

briefing, and allow for a fulsome presentation of the merits that will be most helpful to the Court:

       1. Manufacturer-Plaintiffs in these four actions propose to file a single memorandum in

           opposition to all pending motions to intervene.

       2. Three Manufacturer-Plaintiffs (Lilly, BMS, and Novartis) propose consolidated brief-

           ing on dispositive cross-motions (including any request for dismissal) in their three

           cases going forward. Opening briefs on those Manufacturer-Plaintiffs’ summary judg-

           ment motions have been filed, and those actions are proceeding on the same agreed

           briefing schedule. Under this proposal, the parties in these three actions would follow

           the same briefing schedule already negotiated between the parties and entered by this

           Court: the government would file a single consolidated opposition and cross-motion

           (including any motion to dismiss) by March 3, 2025; Lilly, BMS, and Novartis would


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  This order was not formally entered on the docket in the Sanofi case, but the Court’s order in
the other cases included the Sanofi docket number.


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   file a single combined reply and response by March 17, 2025; and the government in

   turn would file a single reply brief by March 31, 2025. Manufacturer-Plaintiffs antici-

   pate some additional pages beyond the default page limits will be required to effectuate

   this consolidation, and they will confer with the government in advance of the briefing

   deadline to seek an agreement on the page limit.

3. Because the government negotiated a different briefing schedule in the Sanofi case, and

   because Sanofi has yet to file its opening brief on its motion for summary judgment,

   Manufacturer-Plaintiffs all respectfully ask the Court to allow briefing on the disposi-

   tive cross-motions in the Sanofi case to proceed separately on the previously negotiated

   and entered schedule.

4. To the extent the Court is inclined to hold a hearing on the dispositive cross-motions,

   the four Manufacturer-Plaintiffs (Lilly, BMS, Sanofi, and Novartis) propose a joint

   hearing on those motions following all briefing, which is scheduled to be completed in

   all four cases by March 31, 2025.

5. Manufacturer-Plaintiffs respectfully reiterate the request for expedited consideration

   and decision by May 1 given the need for sufficient experience with the rebate model

   to determine whether it is a viable mechanism for complying with obligations under

   the Inflation Reduction Act. See Mot. for Expedited Determination at 1-2, Bristol My-

   ers Squibb Co., No. 24-cv-3337, Dkt. 12 (without an expedited determination, BMS

   faces “irreparable harm” because the government’s prohibition on a rebate-based ap-

   proach means that BMS must either “proceed with its statutorily authorized cash re-

   plenishment model—and risk expulsion from the largest government healthcare pro-

   grams and civil monetary penalties—or … continue the current approach—and suffer




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           millions more in non-recoverable losses from duplicate discounting.”). Manufacturer-

           Plaintiffs oppose any attempt by the government to use consolidation to revisit the ne-

           gotiated schedules in these cases, which were entered by this Court. The government

           agreed to the existing schedule in each case knowing that multiple related actions were

           pending before this Court, and it specifically agreed to a relatively expeditious briefing

           schedule so that certain Manufacturer-Plaintiffs would not seek a preliminary injunc-

           tion. With one exception, these cases are already on the same schedule, and that ex-

           ception (for Sanofi) is due to the government’s insistence in that case that it would not

           file an administrative record until its answer date had lapsed.2 Likewise, each of the

           putative intervenors have agreed to comply with the current scheduling order in each

           case. Intervenor Br. at 15, Eli Lilly & Co., No. 24-cv-3220, Dkt. 18-1; Intervenor Br.

           at 15, Bristol Myers Squibb, No. 24-cv-3337, Dkt. 20-1; Intervenor Br. at 15, Sanofi,

           No. 24-cv-3496, Dkt. 23-1; Intervenor Br. at 14-15, Novartis, No. 25-cv-117, Dkt. 15-

           1. The government should not now be allowed to retrade on its multiple agreements

           and alter the scheduling orders that every other party is currently abiding by under the

           guise of an order that merely sought the parties’ positions on consolidation.

       6. The government also requests consolidation with Kalderos v. United States, No. 21-

           cv-2608, and Johnson & Johnson v. Fink, No. 24-cv-3188. Manufacturer-Plaintiffs do

           not oppose consolidation of the remaining briefing on the dispositive cross-motions in

           Kalderos v. United States, No. 21-cv-2608, with the remaining briefing on the dispos-

           itive cross-motions in Eli Lilly & Co., Bristol Myers Squibb, and Novartis discussed


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  Significantly, the government did not appear to need that extra time because it then proceeded
to serve the same administrative record in all of the related actions and to file the index for that
record on the same day in all four actions—when it was due for the earlier filed actions.


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   above. Each of those actions—Eli Lilly & Co., Bristol Myers Squibb, Novartis, and

   Kalderos—are currently subject to the same briefing schedule.

7. As to Johnson & Johnson v. Fink, No. 24-cv-3188, that case was not a subject of the

   Court’s order as it is not pending before this Court and is related to other cases involv-

   ing covered-entity audits initiated by Johnson & Johnson, all of which are pending be-

   fore another judge of this Court.




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Dated: February 11, 2025              Respectfully submitted,


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